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  10
                                  UNITED STATES DISTRICT COURT
  11                             CENTRAL DISTRICT OF CALIFORNIA

  12   ROBEKS FRANCHISE CORPORATION,                )       Case No.: 2:20-CV-00379

  13                Plaintiff,                      \       Hon. Michael W. Fitzgerald

  14                                                        DEFENDANTS CHRISTINE ALVEARI
       CHRISTINE ALVEARI and                        )       AND HEALTHY EATS, LLC’S
  15   HEALTHY EATS, LLC,                           )       EMERGENCY MOTION SEEKING:
                                                    )       1) CONSOLIDATION OF PRELIMINARY
  16                Defendants.                     }       INJUNCTION HEARING WITH TRIAL
                                                            ON THE MERITS; 2) PERMISSION TO
  17                                                        CONDUCT DISCOVERY; AND
                                                            3) A BRIEFING SCHEDULE AND
  18                                                        EXTENSION OF TIME TO FILE AN
                                                            OPPOSITION TO PLAINTIFF’S
  19                                                        MOTION FOR PRELIMINARY
                                                            INJUNCTION. FILED WITH
  20                                                        DECLARATION OF PATRICK G.
                                                            DEMPSEY, ESQ.
  21
                                                            Date:
  22                                                        Time:
                                                            Courtroom:    5A
  23
  24                                                        Action Filed: January 14, 2020

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   1         Defendants, CHRISTINE ALVEARI (“Alveari”) and HEALTHY EATS, LLC (“Healthy

   2   Eats”) (collectively referred to as the “Defendants”), by and through their attorneys of record,

   3   hereby (i) move this Court, pursuant to FRCP 65(a)(2), for an order consolidating the hearing on

   4   Plaintiffs Motion for Preliminary Injunction with a trial on the merits; (ii) move this Court for an

   5   order continuing the March 16, 2020 hearing on the Motion for Preliminary Injunction so as to

   6   allow time for Defendants to conduct limited discovery; (iii) move this Court for an order granting

   7   Defendants an extension of time to file an Opposition to the Motion for Preliminary Injunction; and

   8   (iv) move this Court for a briefing order that is consistent with the foregoing request for an

   9   extension of time to conduct reasonable discovery in this matter.

  10         This Motion is based on the papers and pleadings on file with this Honorable Court, the

  11   Declaration of counsel attached hereto, and any argument the Court may choose to entertain.

  12                                              INTRODUCTION

  13         At issue in this litigation is whether a small business that has operated for over thirteen (13)

  14   years can be totally destroyed by a large franchisor via an incredibly swift Motion for Preliminary

  15   Junction. The Preliminary Injunction sought by Plaintiff against Defendants is legally invalid

  16   because, inter alia, (i) the covenants not to compete expired in 2019 and (ii) Plaintiff has no

  17   legitimate business interest to support the enforcement of any purported covenants not to compete.

  18         Plaintiff contends that it the Court should step in and forcibly close the Defendants’ small

  19   business even before Defendants have responded to the Complaint and well before being able to

  20   take reasonable discovery. Defendants should not be destroyed on an expedited basis, but should

  21   be permitted to take reasonable discovery and should be allowed to present facts and legal argument

  22   at a trial on the merits before any injunctive relief is granted. As a result, the March 16, 2020

  23   hearing on the Motion for Preliminary Injunction should be postponed so as to allow for limited

  24   fact discovery and, following such discovery, the hearing on the preliminary injunction should be

  25   consolidated with a trial on the merits.

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   1                         MEMORANDUM OF POINTS AND AUTHORITY

   2                                       PROCEDURAL HISTORY

   3         Plaintiff is franchisor of a franchise system wherein franchisees operate store locations that

   4   make and sell prepared juices and smoothies. See Robeks 2019 Franchise Disclosure Document.

   5   Id. The “Robeks” parent company opened the first Robeks locations in 1996. Id. In or around

   6   January 2002, Plaintiff began to market itself as a franchisor of the Robeks franchise system and

   7   began to sell franchises to the public. Id.

   8         Plaintiff and Defendant Healthy Eats began their long-term relationship via a Franchise

   9   Agreement executed in December 2006. See [ECF 001] at 2. The written Franchise Agreement

  10   that memorialized said relationship lasted through August 2017, at which time the Franchise

  11   Agreement explicitly expired due to the mere passage of time. Id.

  12         Plaintiff’s Complaint correctly alleges that the Franchise Agreement expired in August 2017

  13   due to the lapse of the ten (10) year duration of said agreement. See Complaint at „ 3, 33.

  14   Following the expiration of the Franchise Agreement in August 2017, a two-year non-compete

  15   provision was automatically triggered. See Exhibit “A” to the Complaint at 24 (which sets forth a

  16   two-year covenant not to compete that automatically commences upon the “expiration” of the

  17   Franchise Agreement); see also Exhibit “G” to the Complaint at 2 (a separate agreement that also

  18   sets forth a two-year covenant not to compete that automatically commences upon the “expiration”

  19   of the Franchise Agreement). As a result, any purported covenant not to compete began in August

  20   2017 and ended in August 2019.

  21         Plaintiff was fully aware of the fact that Defendants continued to operate their business in

  22   South Florida in 2017, 2018, and 2019. See Complaint at        33. However, Plaintiff intentionally

  23   and voluntarily elected to not enforce the covenants not to compete against the Defendants. Instead,

  24   Plaintiff continued to accept payments from Defendants and therefore fully ratified Defendants’

  25   continued operation of their business location over the next two years. Plaintiff’s decision to not

  26   enforce the two-year covenant not to compete against Defendants was also likely influenced by the

  27   fact that Plaintiff has absolutely no legitimate business interest that would support the enforcement

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   1   of any such covenant. In fact, Plaintiffs current belated effort to enforce an expired restrictive

   2   covenant against Defendants appears to be solely based on Plaintiffs desire to punish Defendants.

   3         At around the time that the two-year restrictive covenant lapsed in August 2019, Plaintiff

   4   began to aggressively push Defendants to execute a new franchise agreement that contained

   5   materially different terms compared to the original 2006 Franchise Agreement. When Defendants

   6   declined to sign a new franchise agreement, Plaintiff began to harass Defendants for purported

   7   “noncompliance” with the expired 2006 Franchise Agreement. Soon thereafter, Plaintiff sent a

   8   letter to Defendants indicating that the Plaintiff was “terminating” the expired 2006 Franchise

   9   Agreement. See October 18,2019 Termination Letter, attached to the Complaint as Exhibit “C.”

  10         Following the purported “termination” of the expired Franchise Agreement, Plaintiff

  11   demanded that Defendants remove all references to Robeks from their business location.

  12   Defendants promptly complied with Plaintiffs request and quickly sought to “de-brand” their

  13   business away from the Robeks brand. Notwithstanding Defendants’ prompt compliance with

  14   Plaintiffs request to “de-brand” Defendants’ business location, Plaintiff sought to punish

  15   Defendants for their decision to not sign a new and materially different franchise agreement. As a

  16   result, Plaintiff threatened to sue Defendants and carried through said threat in February 2020.

  17         On    February     1,   2020,   Defendants    were    served    with   ROBEKS        FRANCHISE

  18   CORPORATION’S (“Plaintiff”) 38-page Complaint For Injunctive Relief (the “Complaint”). See

  19   [ECF 001]; see also [ECF 014].

  20         On February 12, 2020, Plaintiff fried its Ex Parte Application to Exceed Page Limitfor PL's

  21   Motion for Preliminary Injuction, wherein Plaintiff requested leave to file a 31-page Motion for

  22                           4 See [ECF 016] and [ECF 017]. On February 13,2020, the Court granted
       Preliminary Injunction.1*

  23   Plaintiff’s Ex Parte Application to Exceed Page Limit. See [ECF 020].

  24         Plaintiff and its counsel had months to research and prepare these documents. Because of the

  25   nature of Plaintiffs allegations and the incredibly prejudicial ramifications of the injunctive relief

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       1 The Motion for Preliminary Injunction is actually 40 pages in length, but contains 31 pages of legal
  27   argument. See (ECF 017). The Motion for Preliminary Injunction includes 4 Exhibits, covering an additional
       156 pages of material. Id.
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   1   sought, the Court should have the benefit of a complete factual and legal record before rendering a

   2   decision.

   3         Therefore, Defendants request (i) that the preliminary injunction hearing be consolidated with

   4   a trial on the merits; (ii) an opportunity to conduct reasonable fact discovery; and (iii) additional

   5   time to prepare an Opposition to the Motion for Preliminary Injunction. Because Defendants’

   6   deadline to respond to the Motion for Preliminary Injunction is quickly approaching, Defendants

   7   make their requests on an emergency basis.

   8                                           LEGAL ARGUMENT

   9       I. The Preliminary Injunction Hearing Should Be Consolidated With A Trial On

  10               The Merits.

  11         Injunction is an equitable relief and courts have broad discretion in considering equitable

  12   matters. Federal Rule of Civil Procedure 65(a)(2) specifically allows the court to “order the trial of

  13   the action on the merits to be advanced and consolidated with the hearing of the application.” See

  14   FRCP 65(a)(2); see also Walter v. Mattel, Inc.,3\F. Supp. 2d 751,753 (C.D. Cal. 1998), affd, 210

  15   F.3d 1108 (9th Cir. 2000) (consolidating motion for preliminary junction with a trial on the merits

  16   held on a later date).

  17          For instance, courts may consolidate preliminary injunction hearings with a trial on the

  18   merits if the preliminary injunction sought would effectively decide the entire case. See Aliya

  19   Medcare Fin., LLC v. Nickell, CV1407806MMMSHX, 2014 WL 12526382, at *8 (C.D. Cal. Nov.

  20   26, 2014) (citing Boldon v. Humana Ins. Co., 466 F. Supp. 2d 1199, 1208 (D. Ariz. 2006).2

  21   Mandatory injunctions go well beyond simply maintaining the status quo and are particularly

  22   disfavored. See Park Vill. Apartment Tenants Ass'n v. Mortimer Howard Trust, 636 F.3d 1150,

  23   1160 (9th Cir. 2011); see also Stanley v. Univ. ofS. Cal., 13 F.3d 1313,1320 (9th Cir. 1994). When2*5

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  25   2 The plaintiff in Boldon had a rare form of terminable liver cancer and sought an injunction requiring his
       insurer to provide medical benefits and coverage for prescribed medical treatment pursuant to ERISA. Id.
  26   at 1202-1203. Typically, the greater the relative hardship to the moving party, the less probability of
       success must be shown. Id. at 1207. However, the court ruled that a higher level of probability of success
  27   on the merits should be required because the injunction would effectively grant the ultimate relief sought.
       Id.
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   1   a mandatory injunction is requested, courts should deny relief unless the facts and law clearly favor

   2   the moving party. Id.

   3          In the instant case, if a preliminary injunction were to be granted, it would effectively decide

   4   the entire case. Plaintiff is not merely requesting preservation of the status quo. Instead, Plaintiff’s

   5   request is incredibly obtrusive and will result in the forced closure of a small business that has

   6   operated for over thirteen (13) years in South Florida. Plaintiff is requesting that this Court step in

   7   and force Defendants to close their small business, fire all of their staff, violate their lease

   8   agreement due to the closure, and obliterate Defendants’ primary source of income.

   9         As a result, a preliminary injunction will essentially provide Plaintiff with the ultimate relief

  10   it seeks in this litigation. Any “preliminary injunction” that seeks to shut down Defendants’ small

  11   business is no different from a permanent injunction because of the irreversible damage to

  12   Defendants business location and good-will in the community. As in Boldon, this court should

  13   order a consolidation of the preliminary injunction hearing with a trial on the merits. The Court

  14   should not grant Plaintiff’s request for an injunction, whether preliminary or permanent, until all

  15   the facts and law are clearly established. That can only occur through a trial on the merits and after

  16   the parties have had an opportunity to conduct reasonable discovery concerning the issues raised in

  17   the Complaint For Injunctive Relief.

  18      II. The Court Should Allow Discovery Before Deciding Whether To Grant An

  19              Injunction So That It Has The Benefit Of A Complete Factual Record.

  20         Courts can require consolidation of preliminary injunction hearings and a trial on the merits

  21   in order to obtain the benefit of a complete, developed record of facts and law. For example, in

  22   U.S. S.E.C. v. Fitzgerald, the court initially set a hearing on the plaintiff’s motion for preliminary

  23   injunction but then decided that it needed a more complete factual record to reach a decision and

  24   ordered that the hearing be consolidated with a trial on the merits. U.S. S.E.C. v. Fitzgerald, 135

  25   F. Supp. 2d 992,1025 (N.D. Cal. 2001). This Court should likewise require a reasonably complete

  26   factual record before granting any form of injunctive relief.

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   1         The relief sought by Plaintiff against Defendants is serious; a complete destruction of

   2   Defendants’ long-existing small business in South Florida. At this point in time, there is little

   3   admissible evidence to assist the Court in making a determination that will have severe and

   4   substantial ramifications on Defendants’ small business and on the Defendants’ livelihood.

   5   Defendants therefore request the opportunity to conduct limited and reasonable discovery in order

   6   to develop the factual record. At the very least, Defendants request an opportunity to depose

   7   Plaintiff’s designated representative prior to any hearing on injunctive relief.          Having this

   8   information before a hearing or trial will invariably conserve judicial time and resources, not to

   9   mention promoting judicial efficiency.

  10         The limited factual topics that require discovery include, inter alia, the following:

  11         1. Facts related to Plaintiff’s knowledge of Defendants’ continued operation of their

  12             business location during the two-year non-compete term following the expiration of the

  13             Franchise Agreement in August 2017;

  14         2. Facts related to Plaintiff s voluntary acceptance and ratification of Defendants’ continued

  15             operation of their business location during the two-year non-compete term following the

  16             expiration of the Franchise Agreement in August 2017;

  17         3. Facts related to the benefits conferred by Defendants to Plaintiff during the

  18             aforementioned time period; and

  19         4. Facts related to Plaintiffs lack of any legitimate business interest in enforcing the terms

  20             of any purported covenant not to compete.

  21         Reasonable discovery concerning the foregoing topics will greatly assist the Court in

  22   rendering a decision on injunctive relief, whether at an evidentiary hearing or at a final trial on the

  23   merits.

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   1       III. A Briefing Schedule Is Needed And Defendants Should Be Given An Extension

   2              Of Time To File An Opposition To Plaintiff’s Motion For Preliminary

   3              Injunction.

   4         Defendants request the Court’s assistance in establishing a briefing schedule or scheduling

   5   order. As it stands now, Defendants’ Opposition to Plaintiff’s Motion for Preliminary Injunction

   6   is due on March 2, 2020. Unless this Court grants Defendants an extension of time, Defendants

   7   will be forced to prepare an Opposition before they even have a chance to file an Answer to

   8   Plaintiffs Complaint. This matter requires significant briefing and, if the hearing is consolidated

   9   with a trial on the merits, Defendants should have the benefit of limited reasonable discovery.

  10         If the injunction hearing is not consolidated with a trial on the merits, Defendants request an

  11   evidentiary hearing before any injunction is issued. Although Plaintiff has had months to research

  12   and prepare the Complaint and Motion, Defendants are essentially being forced to prepare its entire

  13   defense in a few weeks. It takes time to research, gather evidence, and write a meaningful brief on

  14   the complex issues presented. The Court, and the interests of justice, would best be served if the

  15   record before the Court were reasonably complete and the matter was fully briefed prior to any

  16   decision on injunctive relief.

  17         Therefore, Defendants request a briefing schedule and an extension of time to file their

  18   Opposition to the Motion for Preliminary Injunction. If the Court decides to consolidate the

  19   preliminary injunction hearing with a trial on the merits, Defendants request the opportunity to

  20   present its Opposition in the form of a trial brief. Alternatively, if the Court decides not to

  21   consolidate these matters, Defendants request a sixty (60) day extension of time to prepare an

  22   Opposition so that it can have the opportunity to conduct limited discovery in advance of an

  23   evidentiary hearing.

  24                                            CONCLUSION

  25         Because the relief sought by Plaintiff would effectively decide the entire case and entirely

  26   destroy Defendants’ small business, the issues before the Court go far beyond “maintaining the

  27   status quo.” Plaintiff is, in fact, seeking a mandatory injunction to force Defendants to fire their

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   1   employees, close their business, violate their lease, and destroy their good-will with the community

   2   at large.   Even worse is the fact that Plaintiff is pursuing such devastating relief against the

   3   Defendants notwithstanding Plaintiffs complete lack of any legitimate business interest; Plaintiff

   4   is simply trying to wrongfully punish a small business for daring to disagree.

   5         As a result, this Court should postpone the March 16, 2020 hearing on the Motion for

   6   Preliminary Injunction and consolidate the preliminary injunction hearing with a trial on the merits

   7   so that it has the benefit of a complete factual record before a decision is made. Additionally, the

   8   Court should grant Defendants an extension of time to file an Opposition to the Motion for

   9   Preliminary Injunction so as to permit reasonable discovery. Finally, the Court should enter a

  10   briefing order that is consistent with the foregoing request for an extension of time to conduct

  11   reasonable discovery in this matter.

  12                        CERTIFICATE OF GOOD FAITH CONFERENCE

  13         I hereby certify that the undersigned counsel has conferred with all parties or non-parties who

  14   may be affected by the relief sought in this motion in a good faith effort to resolve the issues raised

  15   in this Motion and was informed that Plaintiff opposes the relief sought herein.

  16         DATED: February 27, 2020                 HIRZEL DREYFUSS & DEMPSEY, PLLC

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  20                                                         Counsel for Defendants

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          DEFENDANTS’ EMERGENCY MOTION TO CONSOLIDATE PRELIMINARY INJUNCTION HEARING
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    1                            DECLARATION OF PATRICK G. DEMPSEY

    2           I, Patrick G. Dempsey, declare:

    3           1.      Iam duly licensed to practice law in the State of Florida and was admitted pro hac

    4   vice by this Court on February 25,2020.

    5           2.      I am currently practicing law with the law firm of Hirzel Dreyfuss & Dempsey

    6   PLLC, counsel for the Defendants, CHRISTINE ALVEARI and HEALTHY EATS, LLC’S . I

    7   have personal knowledge of the facts stated herein, except for those stated upon information and

    8   belief and, as to those, I believe them to be true.

    9           3.      Iam competent to testify as to the facts stated herein and in a court of law and will

   10   so testify if called upon.

   11           4.      Plaintiff filed a Motion for Preliminary Injunction on February 12,2020.

   12           5.      Defendants retained my law firm to represent them in this litigation on February 13,

   13   2020.

   14           6.      Defendants’ Opposition to the Motion for Preliminary Injunction is due on or before

   15   March 2,2020.

  16            7.      If this Court grants Plaintiff’s Motion for Preliminary Injunction, it would

   17   effectively decide the entire case.

  18            8.      However, there is currently no evidence before this Court that the covenants not to

  19    compete that Plaintiff seeks to enforce against Defendants are actually still in effect, as said

  20    covenants not to compete commenced in August 2017 and lapsed in August 2019.

  21            9.      Moreover, there is currently no evidence before this Court that Plaintiff has a

  22    legitimate business interest in seeking to enforce any purported covenants not to compete against

  23    Defendants, regardless of the untimely nature thereof.

  24            10.     Defendants therefore need to take limited discovery in advance of any hearing or

  25    trial on the merits concerning the following topics:

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    1                a. Facts related to Plaintiffs knowledge of Defendants’ continued operation of their

    2                    business location during the two-year non-compete term following the expiration

    3                    of the Franchise Agreement in August 2017;

    4                b. Facts related to Plaintiffs voluntary acceptance and ratification of Defendants’

    5                    continued operation of their business location during the two-year non-compete

    6                    term following the expiration of the Franchise Agreement in August 2017;

    7                c. Facts related to the benefits conferred by Defendants to Plaintiff during the

    8                    aforementioned time period; and

    9                d. Facts related to Plaintiffs lack of any legitimate business interest in enforcing the

   10                    terms of any purported covenant not to compete.

   11         11.      So that Defendants will know whether they must file an Opposition on March 2,

   12   2020 without having had the ability to take discovery, Defendants request that the Court decide this

   13   Motion on an emergency basis.

   14         I declare under penalty of perjury that the foregoing is true and correct and was executed on

   15   February 27, 2020 at Miami, Florida.

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           DEFENDANTS’ EMERGENCY MOTION TO CONSOLIDATE PRELIMINARY INJUNCTION HEARING
